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                                                                         APPEAL,CUSTODY,LC-1

                                U.S. District Court
        U.S. District Court for the Northern District of Oklahoma (Tulsa)
      ABRIDGED CRIMINAL DOCKET FOR CASE #: 4:09-cr-00043-SPF-1


Case title: USA v. Springer et al                           Date Filed: 03/10/2009
Other court case numbers: 09-5165 10th Circuit Court        Date Terminated: 04/28/2010
                           10-5101 10th Circuit
                           11-10096 US Supreme Court
                           13-5113 10th Circuit
                           14-5111 10th Circuit
Related Case: 4:13-cv-00145-SPF-TLW


 Date Filed       #   Docket Text
 03/10/2009       2   INDICTMENT by USA as to Lindsey Kent Springer (1) count(s) 1, 2, 3-4,
                      5-6, Oscar Amos Stilley (2) count(s) 1, 3-4 (pll, Dpty Clk) (Entered:
                      03/10/2009)
 10/13/2015     604   MOTION to Enjoin Enforcement of the Judgment Dated April 28, 2010,
                      Based Upon Several Frauds on the Court (Re: 337 Judgment and
                      Commitment, Entering Judgment ) by Lindsey Kent Springer (sc, Dpty Clk)
                      (Entered: 10/14/2015)
 10/13/2015     605   BRIEF in Support of Motion (Re: 604 MOTION to Enjoin Enforcement of the
                      Judgment Dated April 28, 2010, Based Upon Several Frauds on the Court ) by
                      Lindsey Kent Springer (sc, Dpty Clk) (Entered: 10/14/2015)
 10/20/2015     606   ORDER by Judge Stephen P Friot , ruling on motion(s)/document(s): #604
                      denied (Re: 604 MOTION to Enjoin Enforcement of the Judgment Dated
                      April 28, 2010, Based Upon Several Frauds on the Court ) as to Lindsey Kent
                      Springer (lml, Dpty Clk) (Entered: 10/20/2015)
 11/02/2015     607   NOTICE OF APPEAL to Circuit Court (Re: 606 Order, Ruling on Motion
                      (s)/Document(s),, ) as to Lindsey Kent Springer (jln, Dpty Clk) (Entered:
                      11/02/2015)




https://ecf.oknd.circ10.dcn/cgi-bin/DktRpt.pl?736330671586584-L_9999_1-1                  12/10/2015
